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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )
                                      )
UNIVERSITY OF KANSAS                  )
HOSPITAL AUTHORITY, et al.,           )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 19-132 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )

                                 ORDER TO SHOW CAUSE

              On February 27, 2019, the Court asked the above-captioned parties if they would

be open to consolidation of their cases, which both challenge the same agency rule on purely

legal grounds. See 2/27/2019 Min. Order. Both sets of Plaintiffs opposed in the interest of

making their own legal arguments in their own briefs. See Response to the Court’s Minute Order

of Feb. 27, 2019 [Dkt. 18] [Dkt. 9]. Briefing in both cases is now complete and the Court is

considering arguments made in both cases. Plaintiffs are thus jointly ORDERED TO SHOW



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CAUSE, by no later than August 23, 2019, why the above-captioned cases should not be

consolidated for the purposes of decision.



Date: August 15, 2019
                                                 ROSEMARY M. COLLYER
                                                 United States District Judge




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